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 1
                       UNITED STATES DISTRICT COURT
 2                     NORTHERN DISTRICT OF GEORGIA
 3

 4   PATTI DANFORTH,               )          CIVIL ACTION FILE NO.
                                   )
 5            Plaintiff,           )
                                   )          ___________________________
 6
         v.                        )          (Telephone Consumer Protection Act)
                                   )
     CAPITAL ONE BANK (USA), N.A., )
 7
                                   )          JURY TRIAL REQUESTED
              Defendant.           )
 8
                                   )
 9

10

11
                                     COMPLAINT
12

13        PATTI DANFORTH (“Plaintiff”), by her attorneys, alleges the following
14
     against CAPITAL ONE BANK (USA), N.A. (“Defendant”):
15
       1. Plaintiff brings this action on behalf of herself individually seeking damages
16

17
          and any other available legal or equitable remedies resulting from the illegal

18        actions of Defendant, in negligently, knowingly, and/or willfully contacting
19
          Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
20
          Consumer Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et seq.
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                           JURISDICTION AND VENUE
 1

 2   2. Defendant conducts business in the state of Georgia, and therefore, personal
 3
        jurisdiction is established. Venue is proper pursuant to 28 U.S.C.
 4
        1391(b)(2).
 5

 6
     3. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.

 7      §227(b)(3). See, Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740
 8
        (2012), holding that federal and state courts have concurrent jurisdiction over
 9
        private suits arising under the TCPA.
10

11   4. Venue is proper in the United States District Court for the Northern District

12      of Georgia pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within
13
        this District and a substantial part of the events or omissions giving rise to the
14
        herein claims occurred, or a substantial part of property that is the subject of
15

16      the action is situated within this District.
17                                      PARTIES
18
     5. Plaintiff is a natural person residing in the county of Cherokee, in the city of
19

20
        Woodstock, Georgia.

21   6. Defendant is a Virginia corporation, doing business in the State of Georgia,
22
        with its principal place of business in McLean, Virginia.
23
     7. At all times relevant to this Complaint, Defendant has acted through its
24

25
        agents, employees, officers, members, directors, heir, successors, assigns,


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        principals, trustees, sureties, subrogees, representatives and insurers.
 1

 2                          FACTUAL ALLEGATIONS
 3
     8. Defendant placed collection calls to Plaintiff seeking and attempting to
 4
        collect on alleged debts owed by Plaintiff.
 5

 6
     9. Defendant placed collection calls to Plaintiff’s cellular telephone at phone

 7      number (770) 928-48XX.
 8
     10. Defendant placed collection calls to Plaintiff from phone numbers including,
 9
        but not limited to, (800) 955-6600.
10

11   11. Per its prior business practices, Defendant’s calls were placed with an

12      automated telephone dialing system (“auto-dialer”).
13
     12. Defendant used an “automatic telephone dialing system”, as defined by 47
14
        U.S.C. § 227(a)(1) to place its telephone calls to Plaintiff seeking to collect a
15

16      consumer debt allegedly owed by Plaintiff, PATTI DANFORTH.
17   13. Defendant’s calls constituted calls that were not for emergency purposes as
18
        defined by 47 U.S.C. § 227(b)(1)(A).
19

20
     14. Defendant’s calls were placed to a telephone number assigned to a cellular

21      telephone service for which Plaintiff incurs a charge for incoming calls
22
        pursuant to 47 U.S.C. § 227(b)(1).
23

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     15. Defendant never received Plaintiff’s “prior express consent” to receive calls
 1

 2      using an automatic telephone dialing system or an artificial or prerecorded
 3
        voice on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
 4
     16. On February 22, 2018, Plaintiff called into Defendant’s company at phone
 5

 6
        number (800) 955-6600.           Plaintiff spoke with Defendant’s female

 7      representative and requested that Defendant cease calling Plaintiff’s cellular
 8
        telephone.
 9
     17. During the conversation on February 22, 2018, Plaintiff gave Defendant her
10

11      social security number and date of birth to assist Defendant in accessing her

12      accounts before asking Defendant to stop calling her cellular telephone (770)
13
        928-48XX.
14
     18. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her
15

16      cellular telephone and/or to receive Defendant’s calls using an automatic
17      telephone dialing system in her conversation with Defendant’s representative
18
        on February 22, 2018.
19

20
     19. Despite Plaintiff’s request, Defendant continued to place collection calls to

21      Plaintiff after February 22, 2018.
22
     20. Defendant continued to place collection calls to Plaintiff’s cellular telephone.
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     21. Despite Plaintiff’s request that Defendant cease placing automated collection
 1

 2         calls, Defendant placed at least forty-seven (47) automated calls to Plaintiff’s
 3
           cellular telephone after February 22, 2018.
 4

 5

 6
                    FIRST CAUSE OF ACTION
       NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
 7                     PROTECTION ACT
                         47 U.S.C. § 227
 8

 9
     22. Plaintiff repeats and incorporates by reference into this cause of action the
10
           allegations set forth above at Paragraphs 1-21.
11

12   23. The foregoing acts and omissions of Defendant constitute numerous and
13
           multiple negligent violations of the TCPA, including but not limited to each
14
           and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
15

16
     24. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,

17         Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
18
           every violation, pursuant to 47 U.S.C. §227(b)(3)(B).
19
     25. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
20

21         the future.

22   ///
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     ///
24
     ///
25



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 1
                    SECOND CAUSE OF ACTION
 2     KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
                   CONSUMER PROTECTION ACT
 3
                        47 U.S.C. § 227 et. seq.
 4      26. Plaintiff repeats and incorporates by reference into this cause of action the
 5
           allegations set forth above at Paragraphs 1-21.
 6
        27. The foregoing acts and omissions of Defendant constitute numerous and
 7

 8         multiple knowing and/or willful violations of the TCPA, including but not
 9         limited to each and every one of the above cited provisions of 47 U.S.C. §
10
           227 et seq.
11

12
        28. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

13         227 et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages,
14
           for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
15
           U.S.C. § 227(b)(3)(C).
16

17
        29. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in

18         the future.
19
                                  PRAYER FOR RELIEF
20
           WHEREFORE, Plaintiff, PATTI DANFORTH, respectfully requests
21
     judgment be entered against Defendant, CAPITAL ONE BANK (USA) N.A. for
22
     the following:
23
                                 FIRST CAUSE OF ACTION
24
        30. For statutory damages of $500.00 multiplied by the number of TCPA
25
           violations alleged herein (47), $23,500.00;

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 1   31. Actual damages and compensatory damages according to proof at time of
 2      trial;
 3                          SECOND CAUSE OF ACTION
 4   32. For statutory damages of $1,500.00 multiplied by the number of TCPA
 5      violations alleged herein (47), $70,500.00;

 6   33. Actual damages and compensatory damages according to proof at time of

 7      trial;

 8                          ON ALL CAUSES OF ACTION

 9   34. Actual damages and compensatory damages according to proof at time of

10      trial;

11   35. Costs and reasonable attorneys’ fees;

12   36. Any other relief that this Honorable Court deems appropriate.

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14                             JURY TRIAL DEMAND

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     37. Plaintiff demands a jury trial on all issues so triable.
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 1                        LOCAL RULE 5.1 CERTIFICATION
 2
          Pursuant to Local rule 7.1D, counsel hereby certifies that the foregoing
 3

 4     pleading was prepared in Times New Roman, 14 point font in compliance with
 5
       Local Rule 5.1C.
 6

 7

 8

 9                                        RESPECTFULLY SUBMITTED,
10   Dated: May 14, 2018
11
                                          By: /s/ Chuck M. Douglas _____
     WAKHISI-DOUGLAS LLC                  Chuck M. Douglas
12   2002 Summit Blvd – SUITE 3000        Georgia Bar No. 939932
     Atlanta, GA 30319                    Attorney for the Plaintiff
13
     404-566-2320 (Phone)
14   866-566-1232 (Facsimile)
     cmdouglas@wd-law.net
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                                   PLAINTIFF’S COMPLAINT
